Case 3:24-cv-01098-ZNQ-TJB Document 34 Filed 02/29/24 Page 1 of 1 PageID: 511




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


ANDY KIM, in his personal capacity as a
candidate for U.S. Senate, et al.,

                        Plaintiffs,                     Civil Action No. 24-1098 (ZNQ) (TJB)
                        v.
                                                                        ORDER
CHRISTINE GIORDANO HANLON, in her
capacity as Monmouth County Clerk, et al.,

                        Defendants.


QURAISHI, District Judge

       THIS MATTER comes before the Court upon a Motion for Preliminary Injunction filed

by Plaintiffs. (“Motion,” ECF No. 5). The Court, having reviewed the Motion and the Verified

Complaint,

       IT IS on this 29th day of February 2024,

       ORDERED that Defendants shall file any opposition to the Motion by no later than March
6, 2024; and it is further

       ORDERED that any reply shall be filed by March 12, 2024; and it is further

       ORDERED that a hearing on the Motion before the undersigned will commence on March
18, 2024 at 10:30 a.m.; and it is further

        ORDERED that by March 15, 2024 counsel for the parties are to file a joint proposed
agenda for the hearing that includes an identification of witnesses and a proposed schedule; and it
is further

       ORDERED that any Motions to Intervene shall be filed by March 6, 2024.



                                                    s/ Zahid N. Quraishi
                                                    ZAHID N. QURAISHI
                                                    UNITED STATES DISTRICT JUDGE
